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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                          CASE NO.23-80101-CR-CANNON

  UNITED STATES OF AMERICA

  v.

  CARLOS DE OLIVEIRA
                 Defendant.
  ____________________________/

           DEFENDANT CARLOS DE OLIVEIRA’S OPPOSITION
       TO THE GOVERNMENT’S MOTION FOR A GARCIA HEARING

                                   BACKGROUND

        The Government requests that the Court hold a hearing pursuant to United

  States v. Garcia, 517 F.2d 272 (5th Cir. 1975) “to conduct an inquiry regarding

  potential conflicts of interest that may arise from attorney John Irving’s concurrent

  representation of Defendant Carlos De Oliveira and three individuals the

  Government may call to testify as witnesses at trial.” Gov’t Mot. at 1 (ECF No. 123)

  (emphasis added). The Government does not assert that any actual conflict of

  interest exists between Mr. De Oliveira and the three potential witnesses that it might

  call at a trial that currently is scheduled to proceed nearly nine months from now,

  nor does it “seek a specific remedy” from the Court. Id. at 2, 9. The Government

  asks the Court to conduct this inquiry not only of Mr. De Oliveira, but also of the
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  three potential witnesses themselves, and it encourages the Court to appoint new

  counsel for those witnesses for purposes of the hearing. The Government asks the

  Court to inquire whether some or all of them will waive any potential conflicts.

        As set forth below, counsel for Mr. De Oliveira welcomes any inquiry of Mr.

  De Oliveira by the Court – even one that seems premature nine months before trial

  – that would help to ensure the protection of Mr. De Oliveira’s constitutional right

  to counsel. However, any such inquiry should be ex parte, and it should be made of

  Mr. De Oliveira as a charged defendant in this case. It is unclear to undersigned

  counsel what the purpose of any inquiry would be with respect to the proposed

  witnesses themselves.

        To be clear, undersigned counsel is unaware of any confidential information

  he obtained from any of those potential witnesses that could be used to cross-

  examine them, as it appears clear that they provided the same information to the

  Government. Even if such information existed, any potential prejudice to Mr. De

  Oliveira can be easily avoided by having Mr. De Oliveira’s Florida counsel, Donnie

  Murrell, cross-examine those witnesses. Further, undersigned counsel no longer

  represents those three individuals, and new independent counsel is being made

  available to advise them going forward.
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                                      ARGUMENT

        Garcia stands for the proposition that a defendant has a right to counsel of his

  choice, even if that attorney might be burdened with potential conflicts of interest

  through his earlier representation of witnesses called to testify against the defendant.

  In reversing the district court’s disqualification of defense counsel in that case, the

  Court of Appeals remanded and instructed the district court “to follow a procedure

  akin to that promulgated in F.R. Crim. P. 11 whereby the defendant’s voluntariness

  and knowledge of the consequences of a guilty plea will be manifest on the face of

  the record.” Id. at 278. The court’s concern in Garcia was with protecting a charged

  defendant’s right to counsel. It had nothing to do with any right to counsel on the

  part of the government’s potential witnesses, which stands to reason given that the

  Sixth Amendment’s right to counsel does not extend to them. See, e.g., Michigan v.

  Harvey, 494 U.S. 344, 348 (1990); United States v. Medko, 2022 U.S. App. :EXIS

  32505 (11th Cir. 2022).

        Here, the Government seeks a hearing based on only what it believes is a

  potential for a conflict, and not any actual conflict. As noted above, undersigned

  counsel is aware of no confidential information that he learned through his

  representation of the three witnesses that they did not also provide to the

  Government, or that could be used to cross-examine those witnesses to Mr. De

  Oliveira’s benefit. In its motion, the Government proffers that “Trump Employee 3”
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  told defendant Nauta that “Trump wanted to speak with him” after he spoke with his

  lawyer on June 24, 2022, and that defendant Nauta then changed his travel schedule

  to fly to Mar-a-Lago, where he [allegedly engaged in conduct that Trump Employee

  3 would obviously have no knowledge of]. The Government proffers that “Witness

  1” has information that is inconsistent with statements that Mr. De Oliveira made to

  Government investigators involving, inter alia, repairs and the placement of a lock.

  The Government further proffers, vaguely, that “Witness 2” has information about

  the movement of boxes and “identified Mr. De Oliveira in Mar-a-Lago security

  footage” moving boxes with Mr. Nauta – a fact that Mr. De Oliveira would readily

  confirm and stipulate to.

        Putting aside, for now, the materiality and value of the proffered testimony to

  the Government’s allegation that Mr. De Oliveira engaged in the charged offenses,

  none of that proposed testimony involves confidential information that counsel for

  Mr. De Oliveira learned through his representation of the witnesses. The

  Government obviously obtained that information through its investigation and

  communications with the witnesses. Undersigned counsel is aware of no additional

  confidential information that he obtained from any of the three potential witnesses

  that could hypothetically be used to cross-examine them. In short, not only is there

  a lack of an actual conflict, which the Government apparently concedes, there is a

  lack of a potential one, as well.
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         Even assuming arguendo that a potential conflict exists, it can be easily

  addressed by having Mr. De Oliveira’s Florida counsel, Donnie Murrell, cross-

  examine any of the three witnesses that the Government might call nine months from

  now. Mr. Murrell’s criminal defense attorney bona fides are well-established, and he

  is perfectly capable of cross-examining any or all of the three witnesses referenced

  by the Government. He has never spoken with any of those individuals, and he has

  obtained no confidential information from or about them.

         Any such hypothetical conflict could also be addressed by a knowing and

  voluntary waiver by Mr. De Oliveira, as Garcia instructs. Counsel for Mr. De

  Oliveira certainly has no objection to the Court ensuring that Mr. De Oliveira

  understands the potential ethical and constitutional issues raised by the Government

  and asking Mr. De Oliveira whether he would like to proceed with his current

  counsel.

         We agree with counsel for Mr. Nauta in two important respects.1 First, the

  Court’s inquiry should be ex parte and under seal between the Court and Mr. De

  Oliveira. Beyond having an opportunity to articulate its basis for a potential conflict,



  1
    Undersigned counsel also shares Mr. Nauta’s counsel’s concern about the Government’s use of
  two grand juries, including one in the District of Columbia after the indictment in this jurisdiction,
  and he agrees that excluding the testimony of Trump Employee 4’s testimony might be an
  appropriate remedy. Mr. De Oliveira reserves his right to challenge the admissibility of the
  testimony of that individual. However, because Mr. Irving never represented Trump Employee 4,
  that individual is not at issue with respect to the Government’s request for a Garcia hearing with
  respect to Mr. De Oliveira.
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  the Government should have no role in the Court’s inquiry and should not be privy

  any communications between the witnesses and Mr. Irving. See Def. Nauta’s Opp.

  to Motion for Garcia Hearing (ECF No. 126) at 3. Second, because it is Mr. De

  Oliveira’s Sixth Amendment rights that are at issue, there is no need to parade the

  witnesses before the press so that the Court can make an inquiry of them, where it is

  unclear what such an inquiry or its effect would be. Id. at 8-9. Garcia assumes that

  the attorney representing the defendant is obligated to maintain the confidences of

  his other clients who are called as Government witnesses – otherwise there would

  be no need to ask the defendant if he agrees to waive that aspect of his Sixth

  Amendment right to counsel. By asking the Court to “inform [all of Mr. Irving’s

  clients] of potential risks and inquire into possible waivers” (Gov’t Mot. at 1 (ECF

  No. 123), the Government apparently argues that Garcia requires a waiver by the

  witnesses of their attorney’s obligation to maintain their confidences.

        Garcia stands for no such principle, and the cases cited by the Government

  involved very different circumstances from those presented here. All of the District

  Court opinions referenced by the Government involved Government motions to

  disqualify defense counsel, which is not the posture of the Government’s current

  motion. United States v. Patel, No. 19-CR-80181, 2022 WL 2191642, at *2 (S.D.

  Fla. June 17, 2022) involved a confusing gaggle of lawyers representing both a

  defendant pending trial and a post-sentence cooperating convict seeking to reduce
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  his sentence by providing information against the defendant, and whom the

  Government ultimately decided not to call as a witness. In United States v. Phillip

  Braun & Blackstone Labs, LLC, No. 19-CR-80030, 2019 WL 1893113, at *2 (S.D.

  Fla. Apr. 29, 2019), the Court did inquire of witnesses who had testified before the

  grand jury whether they “waived any actual or potential conflicts of interest which

  may arise,” which they did, but the Court also determined that the witnesses

  provided no confidential information to the attorneys representing the defendants in

  that matter, and thus were not “materially adverse” to them. Id. at 16-17. As in Patel,

  the witness at issue in United States v. Schneider, 322 F. Supp. 3d 1294, 1296 (S.D.

  Fla. 2018), was a post-sentence cooperating convict from a related case who sought

  to inculpate the defendant in his own or related unlawful conduct, which is nowhere

  close to the instant situation. That court disqualified the defendant’s secondary trial

  counsel, whose law firm had previously represented the cooperator. United States v.

  Oberoi, 331 F.3d 44 (2d Cir. 2003) is also inapposite (as well as also not controlling).

  There, the Second Circuit reversed a district court’s denial of a public defender’s

  motion to withdraw as counsel for a defendant when he learned that he would need

  to cross-examine a long term and current client of his office, who entered into a plea

  agreement with the Government.

        It particularly makes little sense to make a waiver inquiry of the witnesses

  where (a) counsel is aware of no confidential information that the witnesses provided
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  to counsel that they did not also provide to the government, or that counsel could

  use to cross-examine them; (b) co-counsel, Mr. Murrell, will cross-examine the

  witnesses if the need arises, (c) counsel no longer represents those witnesses, and (d)

  new counsel is being made available to advise the witnesses going forward.

        All of that said, however, and without waiving the legal arguments articulated

  above, undersigned counsel appreciates that the Court might nonetheless wish to

  discuss this issue with the witnesses themselves.

                                    CONCLUSION

        WHEREFORE, counsel for Mr. De Oliveira respectfully submits that there is

  no need for a Garcia hearing at this time, but they do not oppose any ex parte and

  sealed inquiry of Mr. De Oliveira by the Court that would help to ensure that his

  Sixth Amendment right to effective defense counsel are protected.

  Dated: August 30, 2023

                                   Respectfully Submitted

                                      /s Larry Donald Murrell, Jr.          b
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 30, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

  counsel of record via transmission of Notices of Electronic Filing.



                                     /s Larry Donald Murrell, Jr.       b
                                  LARRY DONALD MURRELL, JR.
